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13
                                UNITED STATES DISTRICT COURT
14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15

16 KRISTEN RIVERS on behalf of themselves and   CASE NO. 3:23-cv-06481
   all others similarly situated,
17                                              Hon. Donna M. Ryu
           Plaintiffs,
18                                              NOTICE OF FILING OF MOTION FOR
   v.                                           TRANSFER AND CONSOLIDATION OF
19                                              23ANDME, INC. LITIGATION PURSUANT
   23ANDME, INC. and 23ANDME HOLDING            TO 28 U.S.C. § 1407
20 CO.,

21         Defendant.
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     NOTICE OF FILING OF MOTION FOR TRANSFER AND CONSOLIDATION OF 23ANDME, INC.
                         LITIGATION PURSUANT TO 28 U.S.C. § 1407
               Case 4:23-cv-06481-DMR Document 6 Filed 12/22/23 Page 2 of 2



 1   TO THE COURT, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE, pursuant to Rules 6.1, 6.2, and 7.1 of the Rules of Procedure of the

 3   United States Judicial Panel on Multidistrict Litigation, Defendant 23andMe, Inc. and 23andMe, Holding

 4   Co. (collectively, “23andMe”) filed the attached Motion to Transfer (Exhibit A) with the Judicial Panel on

 5   Multidistrict Litigation on December 21, 2023 pursuant to 28 U.S.C. § 1407.

 6          This motion relates to thirty-one (31) putative class actions filed in three Federal Districts across

 7   the United States. Defendant 23andMe respectfully moves the United States Judicial Panel on Multidistrict

 8   Litigation, pursuant to 28 U.S.C. §1407, to transfer and consolidate for coordinated pretrial proceedings

 9   the related actions listed in Schedule A of the motion to the United States District Court for the Northern

10   District of California.

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12   DATED: December 22, 2023                     GREENBERG TRAURIG, LLP

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                                          By:      /s/ Rebekah S. Guyon
14                                                Rebekah S. Guyon
15                                                Attorneys for Defendant, 23andMe, Inc.

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     NOTICE OF FILING OF MOTION FOR TRANSFER AND CONSOLIDATION OF 23ANDME, INC.
                         LITIGATION PURSUANT TO 28 U.S.C. § 1407
